         Case 2:17-bk-19158-VZ Doc 36 Filed 06/24/18                                Entered 06/24/18 21:36:31                Desc
                             Imaged Certificate of Notice                           Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 17-19158-VZ
Cameron N Gray                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: egarciaC                     Page 1 of 2                          Date Rcvd: Jun 22, 2018
                                      Form ID: van160                    Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 24, 2018.
db             +Cameron N Gray,    29342 Dakota Drive,    Valencia, CA 91354-0706
smg             Los Angeles City Clerk,    P.O. Box 53200,    Los Angeles, CA 90053-0200
cr            #+Domonique A Gray,    5347 Baise Street,    Ventura, CA 93003-0218
37959548       +Continental Recovery Services,    2051 Royal Avenue,    Simi Valley, CA 93065-4679
37959549       +County of Ventura,    5171 Verdugo Way,    Camarillo, CA 93012-8603
37959550        Denise Trotta,    135 S Brighton St,    Burbank, CA 91506-2604
37959551      #+Domonique Gray,    5347 Basie St,    Ventura, CA 93003-0218
37959552       +Elizabeth Ann Bleier,    Bleier & Cox APC,    16130 Ventura Blvd Ste. 620,
                 Encino, CA 91436-2568
37959556       +Ramon Rebel,    25050 Avenue Kearny,    Valencia, CA 91355-1255
37959557       +Robert Chinskey,    23658 Marion Way,    Valencia, CA 91354-0715
37959558       +Steven Cosley,    25129 The Old Road,    Canyon Country, CA 91381-2244

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: EDD.COM Jun 23 2018 06:23:00      Employment Development Dept.,    Bankruptcy Group MIC 92E,
                 P.O. Box 826880,   Sacramento, CA 94280-0001
37959547       +E-mail/Text: bankruptcynotices@cbecompanies.com Jun 23 2018 02:35:50       CBE Group,
                 1309 Technology Pkwy,   Cedar Falls, IA 50613-6976
37990884       +Fax: 916-636-2600 Jun 23 2018 03:18:03      California State Disbursement Unit,    PO Box 989067,
                 West Sacramento, CA 95798-9067
37959546        EDI: CAPITALONE.COM Jun 23 2018 06:23:00      Capital One,   PO Box 60599,
                 City of Industry, CA 91716-0599
37959553        E-mail/Text: bknotice@ercbpo.com Jun 23 2018 02:35:39      Enhanced Recovery Corp,
                 8014 Bayberry Rd,   Jacksonville, FL 32256-7412
38008246        EDI: CALTAX.COM Jun 23 2018 06:23:00      FRANCHISE TAX BOARD,   BANKRUPTCY SECTION MS A340,
                 PO BOX 2952,   SACRAMENTO CA 95812-2952
37959554        EDI: CALTAX.COM Jun 23 2018 06:23:00      Franchise Tax Board,   Bankruptcy Section MS A-340,
                 PO Box 2952,   Sacramento, CA 95812-2952
37990885        EDI: CALTAX.COM Jun 23 2018 06:23:00      Franchise Tax Board,   PO Box 942867,
                 Sacramento, CA 94267-0011
37959555        EDI: IRS.COM Jun 23 2018 06:23:00      Internal Revenue Service,   PO Box 7346,
                 Philadelphia, PA 19101-7346
37959545       +E-mail/Text: USTPregion16.LA.ECF@USDOJ.GOV Jun 23 2018 02:35:29      Office of the US Trustee LA,
                 915 Wilshire Boulevard,   Suite 1850,    Los Angeles, CA 90017-3560
37960493       +EDI: PRA.COM Jun 23 2018 06:23:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
                                                                                              TOTAL: 11

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp              Courtesy NEF
smg*              Franchise Tax Board,   Bankruptcy Section MS: A-340,    P.O. Box 2952,
                   Sacramento, CA 95812-2952
                                                                                                                    TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 24, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
       Case 2:17-bk-19158-VZ Doc 36 Filed 06/24/18                 Entered 06/24/18 21:36:31       Desc
                           Imaged Certificate of Notice            Page 2 of 3


District/off: 0973-2          User: egarciaC              Page 2 of 2                  Date Rcvd: Jun 22, 2018
                              Form ID: van160             Total Noticed: 22


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 22, 2018 at the address(es) listed below:
              David Joel Follin    on behalf of Creditor Domonique A Gray legalstaff3@hotmail.com,
               legalstaff1@hotmail.com
              Mark T Young   on behalf of Debtor Cameron N Gray myoung@donahoeyoung.com
              Nancy K Curry (TR)    TrusteeECFMail@gmail.com
              United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
              Valerie Smith     on behalf of Interested Party   Courtesy NEF claims@recoverycorp.com
                                                                                             TOTAL: 5
     Case 2:17-bk-19158-VZ Doc 36 Filed 06/24/18                               Entered 06/24/18 21:36:31                 Desc
                         Imaged Certificate of Notice                          Page 3 of 3
FORM CACB van160−od13h
Rev. 06/2017

                                        United States Bankruptcy Court
                                          Central District of California
                                        255 East Temple Street, Los Angeles, CA 90012

                            ORDER AND NOTICE OF DISMISSAL
                 ARISING FROM CHAPTER 13 TRUSTEE'S MOTION TO DISMISS
                                   [11 U.S.C. § 1307]
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 2:17−bk−19158−VZ
    Cameron N Gray
    aka Cameron Noe Gray, dba Cameron N. Gray                                CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−8968
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 6/22/18


    Address:
    29342 Dakota Drive
    Valencia, CA 91354


Pursuant to the Chapter 13 Trustee's motion to dismiss ("Motion") and supporting declaration in this case,
IT IS ORDERED that the Motion is granted, and

(1) debtor's bankruptcy case is dismissed;
(2) the court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
    under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                  BY THE COURT,
Dated: June 22, 2018                                                              Vincent P. Zurzolo
                                                                                  United States Bankruptcy Judge




Form van160−od13h Rev. 06/2017                                                                                              35 / ELG
